571 F.2d 317
    In the Matter of Richard Lee McCLINTOCK, Bankrupt.Edward W. SZCZEPANSKI, Jr., Trustee-Appellant,v.GENERAL MOTORS ACCEPTANCE CORPORATION, Appellee.In the Matter of Paul Jean PORTMAN, Jr., Bankrupt.Edward W. SZCZEPANSKI, Jr., Appellant,v.FORD MOTOR CREDIT COMPANY, Appellee.
    No. 75-4235.
    United States Court of Appeals,Fifth Circuit.
    April 17, 1978.
    
      Edward W. Szczepanski, Jr., pro se.
      Ernest Kirk, II, Columbus, Ga., for GMAC.
      Charles T. Staples, Columbus, Ga., for Ford Motor Credit Co.
      Appeal from the United States District Court for the Middle District of Georgia.
      Before BROWN, Chief Judge, COLEMAN and TJOFLAT, Circuit Judges.
      PER CURIAM:
    
    
      1
      The disposition of this case rests on the answer to a question we certified to the Supreme Court of Georgia pursuant to Ga.Code Ann. § 24-3902:
    
    
      2
      Where, prior to bankruptcy, a debtor purchases a private motor vehicle in a state other than Georgia, grants to the seller a security interest in the vehicle to secure payment of the unpaid purchase price, advises the dealer at the time that the security interest is created that the vehicle will be brought into Georgia for purposes other than transportation through the State of Georgia and the vehicle is, in fact, brought into Georgia within thirty (30) days thereafter, is the security interest holder, after having perfected its security interest in accordance with the applicable law of the state of purchase by noting the security interest on a motor vehicle certificate of title issued by the state of purchase, required thereafter to obtain a Georgia certificate of title noting its security interest thereon in order to protect its interest against the Trustee in Bankruptcy for the debtor?
    
    
      3
      In re McClintock, 1977, 558 F.2d 732, 736-37.
    
    
      4
      The Supreme Court of Georgia, consistently with the District Court's opinion, has answered this question in the negative.  In re McClintock, 1978, Ga., 241 S.E.2d 831.  In response to inquiries from the Court all parties agree that nothing remains but to adopt the decision of the Supreme Court of Georgia thus enabling us to give with dispatch an authoritative answer to a Georgia question.
    
    
      5
      AFFIRMED.
    
    